912 F.2d 465
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Junior R. ISON, Plaintiff-Appellant,v.SECRETARY, DEPARTMENT OF HEALTH AND HUMAN SERVICES,Defendant-Appellee.
    No. 89-6341.
    United States Court of Appeals, Sixth Circuit.
    Aug. 29, 1990.
    
      Before KEITH, KRUPANSKY and SUHRHEINRICH, Circuit Judges.
      PER CURIAM.
    
    
      1
      Plaintiff-appellant, Junior R. Ison, has appealed from the decision of the district court granting summary judgment in favor of the Secretary of Health and Human Services (Secretary), denying Ison's application for disability insurance benefits.
    
    
      2
      Upon review of the claimant's assignments of error, the record in its entirety, and the briefs of the parties, this court concludes that the Secretary's denial of disability benefits is supported by substantial evidence.  Accordingly, the summary judgment in favor of the Secretary is AFFIRMED for the reasons stated in the magistrate's report of August 30, 1989, as adopted by the district court on September 28, 1989.
    
    